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Fil[ in this information to identify your case and this filing:

Debtor 1 Larrv Scott Roqers
First Name Middle Name Last Name

Debtor 2
(SpOUSe, if filing) First Name Middle Narne Last Name

 

United States Bankruplcy Court for the: SOUTH ERN DlSTR|CT OF TEXAS

:Zi.‘falsreor`lunr;rber |:| Check if this is an
amended filing

 

 

 

Ofiicial Form 106A/B
Schedule AIB: Property 12!15

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. if two married people are
t`rling together, both are equally responsible for supplying correct information. |f more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

mDescribe Each Residence, Building, Land, or Other Rea| Estate You Own or i-lave an interest |n

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

M No. Go to Part 2.
|:| Yes. Where is the property?

 

 

 

 

 

 

 

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any

entries for pages you have attached for Part 1. Write that number here...... ...... ') $D'oo
Descrihe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives lf you lease a vehicle. also report it on Schedule G.' Executory Contracfs and Unexpr’red Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

|'_'| l\lo

M Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptionsl Put the
N[ake; Mercedes Check one. amount of any secured claims on Schedule D:
Mode|: ML |Z[ Debtor-| DnIy Credr'tors Who Have Clar'ms Secured by Propen‘y_
Year: 2011 m Debtor 2 only Current value o; the Current value of;he

m Debtort and Debtor 2 only entire PFOPETW - POrflOl‘l you OWT\-

Appmx'ma'e m'leage" M__ m At least one of the debtors and another $15,0@0_00 $15’090_00
Other information:
2011 Mercedes ML (approx. 95000 1:| Check if this is community property
miles) (see instructions)

4. Watercraft, aircraft, motor homes, A`l'Vs and other recreational vehicles, other vehiclesl and accessories
Examples: Boats, trailers, motors, personal Watercraft, fishing vessels, snowmobiles, motorcycle accessories

g No

M Yes
4.‘|. Who has an interest in the property? Do not deduct secured claims or exemptions Put the
Make: Honda Checl< one. amount of any secured claims on Schedule D.'
Mudel: 42006 g Debtor 1 cnw Credrtors Who Have Clarms Secured by Property_

2 l
Year: 2013 g Dethr en y Current vaiue of the Current value of the
|:] Debtor‘l and Debtor 2 only entire Pr°Pe"tY? P°Ftl°" yel-l eWH?

ether mf°rmat'°“: |:| At least one of the debtors and another $5,000_00 $5’000_09

 

2013 Honda 42thC

l:| Check if this is community property
(see instructions)

Official Form 106AIB Schedu|e NB: Property page t

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Debtor1 Larry Scot‘t Rogers Case number (if known)
First Nal‘ne Middle Name Last Name

4.2. Who has an interest in the property? Do not deduct secured claims or exemptions Put the
Make; Yamaha Checi< one. amount of any secured claims on Schedule D:
Model_ AR230 HD M Debtor 1 On|y Credr'tors Who Have Cia."ms Secured by Property.
Year` 2008 cl Debtor 2 only Current value of the Current value of the

' |:| Debtor 1 and Debtor 2 only entire Properfy? portion you own?
Other '"f°"“a"°": |:| At least one of the debtors and another $20,000_00 $zg,gog_gg
2008 Yamaha AR23I} HD

5.

 

|:| Check if this is community property
(see instructions)

 

Add the dollar value of tl're portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. erte that number here 9 ____WM

 

 

 

m Describe Your Personai and Househoid items

Do you own or have any legal or equitable interest in any of the following items?

‘ill.

11.

12.

13.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

Househo|d goods and furnishings
Examp!es: lViajor appliances, fumiture, |inens, china, kitchenware

|:| No
M Yes. DeSCribe..... App|ia['|¢;;es,l furniture $7,500.00

Electronics
Exarnp!es: Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printersl scanners;
music collections; electronic devices including cell phones, cameras, media piayers, games

l:|No

|Z{ Yes. Describe..... Te|evision, Stereo, DVD player, gamer, cell phones, computers $3,000.00

Collectibles of value
Exampies: Antiques and figurines; paintings. prints. or other artwork; books. pictures, or other art objecis;
stamp, coin, or baseball card coilecfions; other collectionsl memorabilia, coileciibies

MNO

|:| Yes. Describe .....

Equipment for sports and hobbies
Exampies: Sports, photographic, exercise, and other hobby equipment; bicycles. pool tables, golf clubsl skis;
canoes and kayaks; carpentry tools; musical instruments

|z[ No
g Yes. Describe .....
Firearms
Examples.' Pisto|s, rifles, shotguns, ammunition, and related equipment
g No
M Yes. Describe ..... 12 gauge shotgun $100.00
Clothes
Exampies: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
m No
m Yes. Describe ..... Clothing $3,000.00
Jewelry
Examples: Everydayjeweiry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems.
gold, silver
|:| No
M Yes. Describe ..... Jewe|ry $500.00

Norr-farm animals
Exampies: Dogs, cats, birds, horses

MNO

m Ves. Describe.....

Ofticia| Form 106AIB Schedule NB: Property page 2

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Debtor 1 Larry Scott Rogers Case number {if known)
First Name Midd|e Name Last Name

14. Any other personal and household items you did not already iist. including any health aids you
did not list

M No
m Yes. Give specific
information .............

______-

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have »
attached for Part 3. Write the number here 9 $14,100-00

Describe Your Financia| Assets

Do you own or have any legal or equitable interest in any of the foilowing?

 

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

16. Cash
Exampies: Money you have in your wallet, in your home. in a safe deposit box, and on hand when you file your
petition
|:| No
M Yes .................................................................................................................................... Cash: $100.00

17. Deposits of money
Examples: Checking, savingsl or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. if you have multiple accounts with the same
institution, list each.

 

 

 

n No

Yes institution name:
17.1. Checking account checking account of wife BBVA Compass Unknown
17-2- Snving$ account Savings account of wife at BBVA Compass Unknown
17.3. Savings account Savirrgs account of wife at Sal|ie Mae Unknown
17.4. Other financial account: Midsguth 3632091 $50.00

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firmsl money market accounts

|:|No

E[ Yes institution or issuer name:

Ameritrade Unknown

 

19. Non-pubiic|y traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLCl partnership, and joint venture
No
Yes. Give specific
information about
them .......................... Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiabl'e instruments include personal checks, cashiers' checks, promissory notes, and money orders.
ivan-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

M No
Yes. Give specific

information about
them |ssuername:

21. Retirement or pension accounts
Exampies: interests in |RA, ERiSA, Keogh, 401(|<), 403(b), thrift savings accounts, or other pension or
profit-sharing plans
m No
Yes. List each
account separately. Type of account: institution name:

4Oilk} Of Simi|al’ Plani 401(k} or similar plan of Wife at her workplace Unknown

 

Officiai Form 106AIB Schedu|e NB: Property page 3

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Debtor1 Larry Scott Rogers Case number [if known)
First Name Middle Name Last Name
22. Security deposits and prepayments

23.

24.

25.

26.

27.

Your share of ali unused deposits you have made so that you may continue service or use from a company
Exampies."Agreements with landiords, prepaid rent, public utilities (electric, gas, Water), telecommunications
companies, or others

|:| No
M Yes ............................ institution name or individuai:
Security deposit on rental unit: Security deposit on rental unit $6,000.00

 

Annulties (A contract for a specific periodic payment of money to you, either for life or for a number of years)

MNo

|:l Yes issuer name and description:

interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

MNO

m Yes ............................ institution name and description Separately file the records of any interestsl 11 U.S.C. § 521 (c)

Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or
powers exercisable for your benefit

g No
Yes. Give specific
information about them

Patentsl copyrights, trademarksl trade secrets, and other intellectual property;
Exampies: lnternet domain names, websites, proceeds from royalties and licensing agreements
E[ No

Yes. Give specific

information about them

Licenses, franchisesl and other general intangibles
Exampies: Building permits, exclusive licensesl cooperative association holdings, liquor licenses, professional licenses

M No
Yes. Give specific
information about them

 

liiioney or property owed to you? Current value of the

28.

29.

30.

portion you own?
Do not deduct secured
claims or exemptions

'['ax refunds owed to you

No
m Yes. Give specific information Federal: $0.00
about them. including whether

you already filed the returns State: ___M
and the tax years ...................... Local, $0 00
Famity support
Exampies: Past due or lump sum alimony. spousal support. child support, maintenancel divorce settlement, property settlement
No
l:| Yes. Givo specific information Aiimony: $0.00
Maintenance; $0.00
Support'. $0.00
Divorce settiement: $0.00
Property settlement $0.00
Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments disability benefits, sick pay, vacation pay, Workers‘
compensation, Social Security benefits; unpaid loans you made to someone else

MNo

m Yes. Give specific information

Official Form 106AiB Schedule AlB: Property page 4

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Debtor1 Larry Scott Rogers Case number (if known)
First Name Middle Name Last Name
31. interests in insurance policies

32.

33.

34.

35.

36.

Exampies: Health, disabilityl or life insurance; health savings account (HSA); credit, homeowner‘s, or renter's insurance

|:| No
Yes. Name the insurance
company of each policy

 

and list its value ................ Company name: Beneficiary: Surrencler or refund value:
Term policy Family $0.00
Wife's insurance policy Unknown Unknown

 

Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

MNO

|:| Yes. Give specific information

C|aims against third partles, whether or not you have filed a lawsuit or made a demand for payment
Examp.les: Accidenls, employment disputesl insurance claimsl or rights to sue

|:|No

|z[ Yes. Describe each claim ........ See continuation page(s}_ $10,000.00

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to setoff claims

|:|No

M Yes. Describe each ciaim........ C|aims against Karmidib|e, LLC Unknown

Any financial assets you did not already list

MNo

|:| Yes. Give specific information

 

Add the dollar value of all of your entries from Part 4, including any entries for pages you have

attached for Part 4. Write that number here . ............ ') $16'150'00

 

 

 

 

Describe Any Business-Reiated Property You Own or Have an interest ln. List any real estate in Part 1.

37.

38.

39.

40.

41.

Do you own or have any legal or equitable interest in any business-related property?

m No_ Go to Part 6.
Yes. Go to line 38.

Current value of the

portion you own?

Do not deduct secured

claims or exemptions
Accounts receivable or commissions you already earned

MNo

n Yes. Describe..

Office equipment, furnishingsl and supplies
Exampies: Business-re|ated computers, software. modems, printers, copiers, tax machines, rugs, telephones.
desks, chairs, electronic devices

MNo

i:] Yes. Describe..

Machinery, fixtures. equipment, supplies you use in businessl and tools of your trade

|z|No

|:| Yes. Describe..

inventory

No
|:| Yes. Describe..

Official Form 106AIB Schedule Ale Property page 5

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Dabtor 1 Larry Scott Rogers Case number (if known)
First Name Middle Name Last Name

 

42. lnterests in partnerships orjolnt ventures

|:|No

|z[ Yes. Describe ..... Name of entity: % of ownership:

idea lnnovators, LLC (should be ownership of 50% but
unsure of status) 50% Unl<nown

43. Customer listsl mailing iists, or other compilations

MNO

\'_'| Yes. Do your lists include personally identifiable information (as defined in ‘l‘l U.S.C. § 101(41A))?

n No
m Yes. Describe.....

44. Any business-related property you did not already list

MNo

E| Yes. Give specific information

 

45. Add the dollar value of ali of your entries from Part 5l including any entries for pages you have

attached for Part 5. Write that number here ..... 9 $o'°°

 

 

 

Describe Any Farm- and Commercia| Fishing-Re|ated Property You 0wn or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

E[ No. Go to Part 7.
L__| Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured
claims or exemptionsl

4?. Farm animals
Examples: Livestock, poultry, farm-raised fish

-No

m Yes....

4B. Crops--either growing or harvested

|z[ No
Yes. Give specific
information ................

49. Farm and fishing equipment, implements. machinery, fixturesl and tools of trade
No
¢|:| Yes....

50. Farm and fishing supplies, chemicalsl and feed

No
n Yes....

51. Any farm- and commercial fishing-related property you did not already list
|z[ No

Yes. Give specific
information ................

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part B. Write that number here ............ ') ____M

 

 

 

 

Official Form iDEAIE Scheduie A!B: Property page 6

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Debtor 1 Larry Scott Rogers Case number iii knonn)
First Name Middle Name Last Name

 

Describe A|t Property ‘(ou Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examp)'es: Season tickets, country club membership

MNo

|:| Yes. Give specific information

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .. 9 $o'ou

 

 

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

55. Pan1: Total real estate line 9 ') $0.00
56. Part 2: Total vehicles, line 5 $40!000.00
57. Part 3: Total personal and household items, line 15 $14,100.00
58. Part 4: Total financial assets, line 36 $16,150.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part B: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not iisted, line 54 + $0.00
Copy personal
62. Total personal property. Add lines 56 through 61 .................. $70,250.00 prope,ty total -) + $70,250.00
63. Total of all property on Schedu|e AlB. Add line 55 + line 62 $70,250.00

 

 

 

Official Form 106A}B Schedu|e A!B: Property page 7

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Debtor 1 Larry Scofl'. Rogers Case number (if known)
First Name Middle Name Last Name

33. C|aims against third parties ldetai|s|:

C|aims against Karmidable, LLC and lnl:erclick lillarketing, LLC and its managers and members, Unknown
including Kenny Gregg, Reed Larsen, Nei| Twa, for fraud, breach of contract, breach of fiduciary
duty, etc.

C|aims against Jeris Coleman theft of $10000 $10,000,00

C|aims against David Arnett for theft of trade secrets, breach of fiduciary duty, breach of Unknown
contract, etc.

C|aims against Wil|iams Ho|cllng Company Unknown

Official Form 106A/B Schedule NB: Property page 8

 

